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SO ORDERED.

SIGNED this 6th day of January, 2021.




                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                              WINSTON-SALEM DIVISION

     IN RE:

     K&W CAFETERIAS, INC.,                              CASE NO. 20-50674
                                                        CHAPTER 11
               DEBTOR
     CONSENT ORDER GRANTING MOTION FOR RELIEF FROM AUTOMATIC STAY
       TO PERMIT LITIGATION AGAINST DEBTOR WITH RECOVERY LIMITED
                      SOLELY TO INSURANCE PROCEEDS

          This matter came before the Court upon the Motion for Relief from Automatic Stay to

   Allow Petitioner to Proceed with Pending Litigation (Dkt. No. 281) (the “Motion”) filed by

   Linda Barlow (the “Movant”). The Motion seeks relief from the automatic stay to pursue

   certain personal injury litigation, provided that such litigation will seek recovery solely from

   available insurance proceeds and the Movant “will not pursue any property of the estate in the

   event that any verdict extends beyond the insurance coverage.” Based upon the Motion, the

   consent of the Debtor and the Movant, and the entire official record, the Court hereby ORDERS

   as follows:

          1.      The Motion is granted to the extent provided herein.
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       2.      The Movant is hereby granted relief from the automatic stay to proceed with the

negligence lawsuit currently pending in the United States District Court for the Western District

of Virginia, Case No. 7:20 -cv-00177.

       3.      In the event that any judgment in favor of the Movant exceeds the available

insurance coverage, the Movant shall have no claim against the bankruptcy estate or property of

the bankruptcy estate.

CONSENTED TO:

/s John Paul H. Cournoyer
Counsel for the Debtor

/s John P. Fishwick, Jr.
Counsel for the Movant

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NOTICE LIST:

CM/ECF Parties Only
